      Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 1 of 13. PageID #: 225




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO

 MATTHEW DICKSON, on behalf of                   :     Case No. 5:18-cv-182
 himself and others similarly situated,          :
                                                 :
         Plaintiff,                              :
                                                 :     JURY DEMANDED
 v.                                              :
                                                 :
 DIRECT ENERGY, LP, TOTAL                        :
 MARKETING CONCEPTS, LLC, and                    :
 SILVERMAN ENTERPRISES, LLC                      :

         Defendants.

                       SECOND AMENDED CLASS ACTION COMPLAINT

                                      Preliminary Statement

       1.      Plaintiff Matthew Dickson (“Plaintiff”) brings this action to enforce the

consumer-privacy provisions of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

§ 227, a federal statute enacted in 1991 in response to widespread public outrage about the

proliferation of intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740, 745 (2012).

       2.      In violation of the TCPA, Direct Energy, LP (“Direct Energy”) hired Total

Marketing Concepts, LLC (“Total Marketing”), who used its vendor Silverman Enterprises,

LLC (“Silverman”), to send prerecorded telemarketing calls to Plaintiff’s cellular telephone

number. Direct Energy hired Total Marketing Concepts to originate new customers and is

vicariously liable for their illegal telemarketing conduct.
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 2 of 13. PageID #: 226




       3.      Plaintiff never consented to receive these calls, and they were placed to him

for telemarketing purposes in an attempt to generate new business for Direct Energy.

       4.      Because telemarketing campaigns generally place calls to hundreds of

thousands or even millions of potential customers en masse, Plaintiff brings this action on

behalf of a proposed nationwide class of other persons who received illegal telemarketing

calls from or on behalf of Defendant.

                                              Parties

       5.      Plaintiff Matthew Dickson is a resident of the state of Ohio and this District.

       6.      Defendant Direct Energy is headquartered in Houston, Texas. Defendant Direct

Energy is engaged in substantial and not isolated business activities in the State of Ohio and the

United States, including, but not limited to, hiring vendors and directing them to solicit

customers in Ohio, and then entering into contractual relationships and servicing the

relationships with new customers that result from those telemarketing calls.

       7.      Defendant Total Marketing Concepts, LLC is headquartered in Florida.

Defendant Total Marketing is engaged in substantial and not isolated business activities in the

State of Ohio and the United States, including, but not limited to, ordering pre-recorded calls into

the State of Ohio for the purpose of generating new customers for Direct Energy.

       8.      Defendant Silverman Enterprises, LLC is a Delaware limited liability company

that is headquartered in Michigan. Defendant Silverman is engaged in substantial and not

isolated business activities in the State of Ohio and the United States, including, but not limited

to, making pre-recorded calls into the State of Ohio for the purpose of generating new customers

for Direct Energy.


                                                 2
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 3 of 13. PageID #: 227




                                       Jurisdiction & Venue

       9.      The Court has federal question jurisdiction over these TCPA claims. Mims v.

Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

       10.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because Plaintiff is a

resident of this district and he received the illegal telemarketing calls that are the subject of

this putative class action lawsuit in this district.

                                         TCPA Background

       11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing

… can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991,

Pub. L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

       12.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii). The

TCPA provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

§ 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

       13.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a




                                                  3
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 4 of 13. PageID #: 228




greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

        14.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 F.C.C. Rcd. 14014, 14115 ¶ 165 (2003).

        15.     In 2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
        and be sufficient to show that the consumer: (1) received “clear and conspicuous
        disclosure” of the consequences of providing the requested consent, i.e., that the
        consumer will receive future calls that deliver prerecorded messages by or on behalf
        of a specific seller; and (2) having received this information, agrees unambiguously
        to receive such calls at a telephone number the consumer designates.[] In addition,
        the written agreement must be obtained “without requiring, directly or indirectly,
        that the agreement be executed as a condition of purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).


                                       Factual Allegations

        16.     Defendant Direct Energy is a provider of energy services.

        17.     To generate new clients, Direct Energy relies on telemarketing.

        18.     One of the telemarketing strategies used by Direct Energy involves the use of

prerecorded messages to solicit potential customers.

        19.     However, even though the calling parties only identify “Direct Energy” as the

company contacting call recipients, Direct Energy doesn’t make these calls themselves.




                                                 4
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 5 of 13. PageID #: 229




       20.     Instead, Direct Energy compensated third parties, like the co-defendant Total

Marketing, who uses vendors like Silverman to physically dial the calls.

       21.     Direct Energy only pays Total Marketing when they, and Total Marketing’s

vendors, generate new customers.

Calls to Mr. Dickson

       22.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

       23.     Plaintiff is the user of a cellular telephone number (440) 409-XXXX.

       24.     After being hired by Direct Energy to generate new customers, which it does

through outbound telemarketing using pre-recorded messages with its vendors, Total Marketing

caused multiple prerecorded message calls to be sent to Plaintiff’s cellular telephone number in

2017, including on September 19, November 3, December 1 and 21.

       25.     The prerecorded message claimed that the Plaintiff should call a telephone

number back regarding their energy services.

       26.     A call back to this telephone number has resulted in representatives identifying

themselves as being “with Direct Energy.”

       27.     The November 3, 2017 prerecorded message explicitly stated that the caller was

“Nancy Brown with Direct Energy.”

       28.     Plaintiff was not interested in changing energy providers, has never done business

with the Defendants, and had not provided his written consent to receive the calls.

       29.     In fact, prior to this lawsuit, the Plaintiff wrote to Direct Energy on November 13,

2017 asking for any evidence of their consent to call him, which he asserted did not exist.




                                                5
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 6 of 13. PageID #: 230




       30.     Not only did Direct Energy fail to provide any evidence of consent, or even

respond, they placed two more calls to the Plaintiff after his letter was sent, as detailed above.

       31.     Plaintiff and the other call recipients were harmed by these calls. They were

temporarily deprived of legitimate use of their phones because the phone line was tied up, they

were charged for the calls, and their privacy was improperly invaded.

       32.     Moreover, these calls injured Plaintiff because they were frustrating, obnoxious,

annoying, were a nuisance, and disturbed the solitude of Plaintiff and the proposed classes.

                     Direct Energy’s Liability for the Telemarketing Calls

       33.     Direct Energy is a “person,” as defined by 47 U.S.C. § 153(39).

       34.     The Federal Communication Commission (“FCC”) is tasked with promulgating

rules and orders related to enforcement of the TCPA. See 47 U.S.C. 227(b)(2).

       35.     The FCC has explained that its “rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations.” See In re Rules &

Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

10 FCC Rcd 12391, 12397 (¶ 13) (1995).

       36.     In their January 4, 2008 ruling, the FCC reiterated that a company on whose

behalf a telephone call is made bears the responsibility for any violations. Id. (specifically

recognizing “on behalf of” liability in the context of an autodialed or prerecorded message call

sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).

       37.     On May 9, 2013, the FCC confirmed this principle in a Declaratory Ruling

holding that sellers such as Direct Energy may not avoid liability by outsourcing telemarketing:

       [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
       activities to unsupervised third parties would leave consumers in many cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proof, unidentifiable, or located outside



                                                  6
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 7 of 13. PageID #: 231




       the United States, as is often the case. Even where third-party telemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
       that physically places the call would make enforcement in many cases substantially
       more expensive and less efficient, since consumers (or law enforcement agencies)
       would be required to sue each marketer separately in order to obtain effective relief.
       As the FTC noted, because “[s]ellers may have thousands of ‘independent’
       marketers, suing one or a few of them is unlikely to make a substantive difference
       for consumer privacy.

May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

       38.     More specifically, the May 2013 FCC Ruling held that, even in the absence of

evidence of a formal contractual relationship between the seller and the telemarketer, a seller is

liable for telemarketing calls if the telemarketer “has apparent (if not actual) authority” to make

the calls. 28 FCC Rcd at 6586 (¶ 34).

       39.     The May 2013 FCC Ruling rejected a narrow view of TCPA liability, including

the assertion that a seller’s liability requires a finding of formal agency and immediate direction

and control over the third-party who placed the telemarketing call. Id. at 6587 n. 107.

       40.     The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

               [A]pparent authority may be supported by evidence that the seller allows
               the outside sales entity access to information and systems that normally
               would be within the seller’s exclusive control, including: access to detailed
               information regarding the nature and pricing of the seller’s products and
               services or to the seller’s customer information. The ability by the outside
               sales entity to enter consumer information into the seller’s sales or customer
               systems, as well as the authority to use the seller’s trade name, trademark
               and service mark may also be relevant. It may also be persuasive that the
               seller approved, wrote or reviewed the outside entity’s telemarketing
               scripts. Finally, a seller would be responsible under the TCPA for the
               unauthorized conduct of a third-party telemarketer that is otherwise
               authorized to market on the seller’s behalf if the seller knew (or reasonably
               should have known) that the telemarketer was violating the TCPA on the
               seller’s behalf and the seller failed to take effective steps within its power
               to force the telemarketer to cease that conduct.

28 CC Rcd at 6592 (¶ 46).



                                                 7
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 8 of 13. PageID #: 232




       41.     Direct Energy is legally responsible for ensuring that Total Marketing complied

with the TCPA, even if Direct Energy did not itself make the calls.

       42.     Direct Energy knowingly and actively accepted business that originated through

the illegal telemarketing calls from Total Marketing.

       43.     In fact, Direct Energy accepted the business from illegal calls from the

defendants, even though it had previously received complaints alleging that the third parties

working on its behalf were violating the TCPA.

       44.     Despite these facts, Direct Energy has continued to fail to adequately monitor the

third parties operating on their behalf.

       45.     By hiring a company to make calls on its behalf, Direct Energy “manifest[ed]

assent to another person . . . that the agent shall act on the principal’s behalf and subject to the

principal’s control” as described in the Restatement (Third) of Agency.

       46.     Moreover, Direct Energy maintained interim control over the actions of the party

that made the call.

       47.     For example, Direct Energy had absolute control over whether, and under what

circumstances, it would accept a customer.

       48.     Furthermore, Direct Energy had day-to-day control over the party that made the

call’s actions, including the ability to prohibit it from using an ATDS or pre-recorded messages

to contact potential customers of Direct Energy.

       49.     Additionally, Direct Energy restricted the geographic location that the company

that made the calls could promote Direct Energy.

       50.     Direct Energy also gave interim instructions to the company that made the calls

by providing the volume of calling and leads it would purchase.




                                                   8
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 9 of 13. PageID #: 233




       51.       Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information.” Id. at 6592-593 (¶ 46). Moreover, evidence of circumstances pointing to apparent

authority on behalf of the telemarketer “should be sufficient to place upon the seller the burden

of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).

                                      Class Action Allegations

       52.       As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

this action on behalf of a class of all other persons or entities similarly situated throughout the

United States.

       53.       The class of persons Plaintiff proposes to represent is tentatively defined as:

       All persons within the United States: (a) to whom Defendants and/or a third party
       acting on its behalf, made one or more non-emergency telephone calls; (b)
       promoting Defendants’ products or services; (c) to their cellular telephone number;
       (d) using an automatic telephone dialing system or an artificial or prerecorded
       voice; and (e) at any time in the period that begins four years before the date of
       filing this Complaint to trial.

       54.       Excluded from the class are Defendants, and any entities in which Defendants has

a controlling interest, Defendants’ agents and employees, any judge to whom this action is

assigned, and any member of such judge’s staff and immediate family.

       55.       The class as defined above is identifiable through phone records and phone

number databases.

       56.       The potential class members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals a day. Individual

joinder of these persons is impracticable.

       57.       Plaintiff is a member of the proposed class.



                                                   9
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 10 of 13. PageID #: 234




        58.      There are questions of law and fact common to Plaintiff and to the proposed class,

including but not limited to the following:

                 a. Whether Defendants violated the TCPA by using a prerecorded message to

call cellular telephones;

                 b. Whether Defendants placed calls without obtaining the recipients’ prior

consent for the calls; and

                 c. Whether the Plaintiff and the class members are entitled to statutory damages

because of Defendants’ actions.

        59.      Plaintiff’s claims are typical of the claims of class members. Plaintiff’s claims,

like the claims of the class, arise out of the same common course of conduct by Defendants and

are based on the same legal and remedial theories.

        60.      Plaintiff is an adequate representative of the class because his interests do not

conflict with the interests of the class, he will fairly and adequately protect the interests of the

class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

        61.      Common questions of law and fact predominate over questions affecting only

individual class members. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendants and/or its agents.

        62.      Management of these claims is likely to present significantly fewer difficulties

than are presented in many class claims because the calls at issue are all automated. Class

treatment is superior to multiple individual suits or piecemeal litigation because it conserves

judicial resources, promotes consistency and efficiency of adjudication, provides a forum for




                                                  10
     Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 11 of 13. PageID #: 235




small claimants, and deters illegal activities. There will be no significant difficulty in the

management of this case as a class action.

       63.      The likelihood that individual members of the class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

       64.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

                                            Legal Claims

                                        Count One:
                    Violation of the TCPA’s Automated Calling Provisions

       65.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       66.      The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, to the

cellular telephone numbers of Plaintiff and members of the class using a prerecorded message, or

by the fact that others did so on their behalf.

       67.      As a result of Defendants’ violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the class presumptively are entitled to an award of $500 in damages for each and

every call made to their cellular telephone numbers using an ATDS and/or artificial or

prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       68.      Plaintiff and members of the class are also entitled to and do seek injunctive relief

prohibiting Defendants from violating the TCPA, 47 U.S.C. § 227, by making calls, except for

emergency purposes, to any cellular telephone numbers using a prerecorded voice in the future.

       69.      Defendants’ violations were negligent and/or knowing.




                                                  11
Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 12 of 13. PageID #: 236




                                      Relief Sought

  For himself and all class members, Plaintiff requests the following relief:

  A.       Certification of the proposed class;

  B.       Appointment of Plaintiff as representative of the class;

  C.       Appointment of the undersigned counsel as counsel for the class;

  D.       A declaration that Defendants and/or its affiliates, agents, and/or other related

  entities’ actions complained of herein violate the TCPA;

  E.       An order enjoining Defendants and/or its affiliates, agents, and/or other related

  entities, as provided by law, from engaging in the unlawful conduct set forth herein;

  F.       An award to Plaintiff and the class of damages, as allowed by law;

  G.       Leave to amend this Complaint to conform to the evidence presented at trial; and

  H.       Orders granting such other and further relief as the Court deems necessary, just,

  and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.



                                          PLAINTIFF,
                                          By his attorneys

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                                            12
    Case: 5:18-cv-00182-JRA Doc #: 34 Filed: 07/03/18 13 of 13. PageID #: 237




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                                  CERTIFICATE OF SERVICE


       I, hereby certify that on July 3, 2018, I served the foregoing through the Court’s CM/ECF

system, which sent notice to all counsel of record.


                                               /s/ Anthony I. Paronich
                                               Anthony Paronich
                                               BRODERICK & PARONICH, P.C.




                                                13
